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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 CHRISTOPHER JEROME, et al.,

        Plaintiffs,
                                                                    Case No. 1:16-cv-1116
 v.
                                                                    HON. JANET T. NEFF
 JOEL FERGUSON, et al.,

        Defendants.
 ____________________________/


                                            ORDER

       The Court having conducted a Pre-Motion Conference with counsel on May 5, 2017

concerning Defendants’ proposed dispositive motions (ECF Nos. 66, 67, 69, 71, and 72):

       IT IS HEREBY ORDERED that the parties shall proceed with briefing the proposed

dispositive motions in accordance with the following schedule:

       (1)     Defendants shall file a unified motion and brief; Warner, Norcross & Judd, LLP,
               shall serve as lead counsel for purposes of Defendants’ unified motion and brief.
               The anticipated motion and brief, limited to fifty (50) pages, shall be served and a
               proof of service filed not later than July 5, 2017;

       (2)     Plaintiffs’ response, limited to fifty (50) pages, shall be served and a proof of
               service filed within sixty (60) days of service of the motion; Plaintiffs’ response
               brief shall correspond to the arguments in the sequence presented in Defendants’
               brief.

       (3)     Defendants’ reply, if any, limited to thirty-five (35) pages, shall be served and a
               proof of service filed within thirty (30) days of service of the response; and

       (4)     The parties shall electronically file their respective motion papers as soon as the
               motion is fully briefed.

       IT IS FURTHER ORDERED that the parties shall adhere to this Court’s February 9, 2016,

Administrative Order No. 16-MS0-017 when referencing a page of the record.
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        The parties shall otherwise adhere to the requirements for briefing and filing dispositive

motions, as set forth in Judge Neff’s Information and Guidelines for Civil Practice, available on the

Court’s website (www.miwd.uscourts.gov).

        IT IS FURTHER ORDERED that the parties shall collaborate to file a Joint Exhibit Book

to avoid duplicative exhibits, and shall file a Joint Statement of Material Facts in conjunction with

the motion to the extent feasible.

        IT IS FURTHER ORDERED that Defendants shall have fourteen (14) days after this Court

has resolved its dispositive motion to file an Answer to Plaintiffs’ Amended Complaint, or until

further order of the Court.



Dated: May 5, 2017                                            /s/ Janet T. Neff
                                                             JANET T. NEFF
                                                             United States District Judge
